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UNITED STATES OF AMERICA,                      )CRIIvI1NALNO. 1:19-cr-305  LY
                                                              1:19-CR-191 (1)
                Plaintiff,                     )                                   04.ERK, U.S.)TØICT CQURT
v                                              )                                        D1RT
                                                                                      BTERN         OF TEXAS
                                               )        SUPERSEDING                 BY_____________
David Randall JAKOBEIT,                        )        INFORMATION
                                               )
                       Defendant.              )        USAO ft 2019R22 125

THE UNITED STATES ATTORNEY CHARGES:

                                            Count One
                                         [21 U.S.C. § 8411

       Beginning in or about May 2019 and continuing on or about November 5, 2019, at Austin,

Texas in the Western District of Texas and elsewhere, the Defendant,

                                    David Randall JAKOBEIT,

knowingly, intentionally and unlawfully combined, conspired, confederated and agreed with

others known and unknown, to distribute a controlled substance, which offense a mixture or

substance containing a detectable amount of methamphetamine, a Schedule II Controlled

Substance, contrary to Title 21, United States Code, Sections 841 (a)(1) and (b)( 1 )(C).

                                                        JohnF. ash
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                                                         ARK H. MAR ALL
                                                        Assistant U. S. Attorney




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